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11                                 UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13
     ANTHONY WILLIAMS, TYOKA                              Case No.
14   BRUMFIELD, and WENDY BURNETT,
     individually and on behalf of all others similarly   CLASS ACTION COMPLAINT
15   situated,
                                                          JURY TRIAL DEMANDED
16                               Plaintiffs,
17          v.
18   FACEBOOK, INC.,
19                                Defendant.
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     CLASS ACTION COMPLAINT
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 1          Plaintiffs Anthony Williams, Tyoka Brumfield, and Wendy Burnett (collectively,
 2   “Plaintiffs”) bring this action on behalf of themselves and all others similarly situated against
 3   Defendant Facebook, Inc. (“Facebook” or “Defendant”). Plaintiffs make the following allegations
 4   pursuant to the investigation of their counsel and based upon information and belief, except as to
 5   the allegations specifically pertaining to themselves, which are based on personal knowledge.
 6                                         NATURE OF ACTION
 7          1.      Facebook exploited a vulnerability in the permission settings for the Facebook
 8   Messenger and Facebook Lite smartphone applications (“apps”) in prior versions of the Android
 9   operating system (“OS”). When users install these apps, they are prompted to grant Facebook
10   access to the their “Contact List.” But upon doing so, the Facebook Messenger and Facebook Lite
11   apps for Android scrape users’ call and text logs. That is, Facebook scrapes years worth of call and
12   text data, including whether each call was “Incoming,” “Outgoing,” or “Missed,” the date and time
13   of each call, the number dialed, the individual called, and the duration of each call. Facebook then
14   incorporates these data into its profile on each user, which it monetizes for advertising purposes.
15   This vulnerability was later patched in October 2017, at which time Facebook ceased this practice.
16   Accordingly, Plaintiffs seek compensatory, statutory, and punitive damages, and seek an injunction
17   requiring Facebook to purge its extant call and text logs acquired through these apps.
18                                                 PARTIES
19          2.      Plaintiff Anthony Williams is a citizen of New York who resides in Bay Shore, New
20   York. Plaintiff Williams installed the Facebook Messenger app on his Android smartphone during
21   the relevant time period, and prior to October 2017, for his personal and household use. During
22   installation, Plaintiff Williams granted Facebook permission to access his “Contact List,” but he
23   did not consent to Facebook scraping his call and text logs. Based on information and belief, the
24   Facebook Messenger app scraped his call and text logs, transferred them to Facebook, and
25   monetized these data for advertising purposes. Plaintiff Williams did not understand that Facebook
26   Messenger would scrape his call and text logs. In all reasonable probability, Plaintiff Williams
27   would not have installed or used the Facebook Messenger app, or would have used it on materially
28   different terms, had he known the truth about the app’s practice of scraping call and text logs.

     CLASS ACTION COMPLAINT                                                                                1
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 1   Facebook’s omissions concerning its practice of scraping call and text logs played a substantial
 2   part, and so had been a substantial factor, in his decision to install and use Facebook Messenger.
 3   Plaintiff Williams attempted to review the call and text logs scraped by the Facebook Messenger
 4   app on www.facebook.com, but he was unable to do so because of changes that Facebook made to
 5   its website soon after its privacy violation was reported in the press.
 6          3.      Plaintiff Tyoka Brumfield is a citizen of Connecticut who resides in Waterbury,
 7   Connecticut, though during all relevant time periods (i.e., prior to November 2017) she was a
 8   citizen of New York who resided in Brooklyn, New York. Plaintiff Brumfield installed the
 9   Facebook Messenger and Facebook Lite apps on her Android smartphone during the relevant time
10   period, and prior to October 2017, for her personal and household use. During installation,
11   Plaintiff Brumfield granted Facebook permission to access her “Contact List,” but she did not
12   consent to Facebook scraping her call and text logs. Based on information and belief, the
13   Facebook Messenger and Facebook Lite apps scraped her call and text logs, transferred them to
14   Facebook, and monetized these data for advertising purposes. Plaintiff Brumfield did not
15   understand that Facebook Messenger and Facebook Lite would scrape her call and text logs. In all
16   reasonable probability, Plaintiff Brumfield would not have installed or used the Facebook
17   Messenger and Facebook Lite apps, or would have used them on materially different terms, had
18   she known the truth about the apps’ practice of scraping call and text logs. Facebook’s omissions
19   concerning its practice of scraping call and text logs played a substantial part, and so had been a
20   substantial factor, in her decision to install and use Facebook Messenger and Facebook Lite.
21   Plaintiff Brumfield attempted to review the call and text logs scraped by the Facebook Messenger
22   and Facebook Lite apps on www.facebook.com, but she was unable to do so because of changes
23   that Facebook made to its website soon after its privacy violation was reported in the press.
24          4.      Plaintiff Wendy Burnett is a citizen of California who resides in Inglewood,
25   California. Plaintiff Burnett installed the Facebook Messenger and Facebook Lite apps on her
26   Android smartphone during the relevant time period, and prior to October 2017, for her personal
27   and household use. During installation, Plaintiff Burnett granted Facebook permission to access
28   her “Contact List,” but she did not consent to Facebook scraping her call and text logs. Based on

     CLASS ACTION COMPLAINT                                                                                2
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 1   information and belief, the Facebook Messenger and Facebook Lite apps scraped her call and text
 2   logs, transferred them to Facebook, and monetized these data for advertising purposes. Plaintiff
 3   Burnett did not understand that Facebook Messenger and Facebook Lite would scrape her call and
 4   text logs. In all reasonable probability, Plaintiff Burnett would not have installed or used the
 5   Facebook Messenger and Facebook Lite apps, or would have used them on materially different
 6   terms, had she known the truth about the apps’ practice of scraping call and text logs. Facebook’s
 7   omissions concerning its practice of scraping call and text logs played a substantial part, and so had
 8   been a substantial factor, in her decision to install and use Facebook Messenger and Facebook Lite.
 9   Plaintiff Burnett attempted to review the call and text logs scraped by the Facebook Messenger and
10   Facebook Lite apps on www.facebook.com, but she was unable to do so because of changes that
11   Facebook made to its website soon after its privacy violation was reported in the press.
12          5.      Defendant Facebook, Inc. is a California corporation with its principal place of
13   business located at Menlo Park, California. Facebook is a leading global social media and social
14   networking company. Facebook is a Fortune 500 company with an annual revenue of $40.653
15   billion in 2017, and a market capitalization of $461.75 billion as of March 27, 2018. As part of its
16   operations, Facebook owns and operates the website www.facebook.com, and has developed and
17   distributed smartphone apps for Android and iOS, including the Facebook Messenger and
18   Facebook Lite apps.
19          6.      Whenever reference is made in this Complaint to any representation, act, omission,
20   or transaction of Facebook, that allegation shall mean that Facebook did the act, omission, or
21   transaction through its officers, directors, employees, agents, and/or representatives while they
22   were acting within the actual or ostensible scope of their authority.
23                                     JURISDICTION AND VENUE
24          7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)
25   because this case is a class action where the aggregate claims of all members of the proposed class
26   are in excess of $5,000,000.00, exclusive of interest and costs, and Plaintiffs, together with most
27   members of the proposed class, are citizens of states different from Facebook.
28

     CLASS ACTION COMPLAINT                                                                                 3
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 1           8.      Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
 2   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
 3   District. Facebook is a citizen of California, maintains its worldwide corporate headquarters in this
 4   District, developed the Facebook Messenger and Facebook Lite apps in this District, distributed
 5   and advertised the Facebook Messenger and Facebook Lite apps in this District, formulated its data
 6   retention policies in this District, and monetized users’ data (including Plaintiffs’ data) in this
 7   District.
 8                           FACTS COMMON TO ALL CAUSES OF ACTION
 9   Background On The Facebook Platform
10           9.      Facebook is the world’s leading social networking platform. After registering, users
11   can create a customized profile indicating their name, occupation, interests, schools attended and
12   so on. Users can add other users as “friends,” exchange messages, post status updates, read current
13   events in a News Feed, share photos, videos, and links, use various software applications, and
14   receive notifications of other users’ activity. Additionally, users may join common-interest user
15   groups organized by workplace, school, hobbies or other topics, and categorize their friends into
16   lists such as “People From Work” or “Close Friends.” As of June 2017, Facebook has more than 2
17   billion active users.
18           10.     Facebook may be accessed by a large range of devices with Internet connectivity,
19   such as desktops, laptops and tablet computers, and smartphones. For example, users can access
20   Facebook by visiting the website www.facebook.com using their web browser on their desktop
21   computer, laptop, phone, or tablet. Alternatively, users can access the Facebook platform by
22   installing smartphone apps developed by Facebook for Android and iOS, including the Facebook
23   Messenger and Facebook Lite apps for Android that are at issue in this matter.
24   Background On Online Advertising And The Value Of User Data To Facebook
25           11.     As used herein, the term “User Data” means a specific profile kept on an Internet
26   user which is comprised of sets of information that may include an Internet user’s name, country of
27   origin, browsing habits, areas of interest and hobbies, age, gender, marital status, financial status,
28

     CLASS ACTION COMPLAINT                                                                                   4
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 1   telephone number, email address, buying preferences, and IP address, among other categories.
 2          12.     In recent years, the online advertising industry has formed into a duopoly between
 3   Facebook and Google, who collectively dominate online advertising. Together, these companies
 4   comprise more than 60% of online advertising sales in the United States. These companies rely
 5   heavily upon so-called “User Data” to target and market advertisements. In a sense, User Data is
 6   the life blood of the online advertising industry.
 7          13.     As a core component of its business, Facebook collects and compiles User Data.
 8   Facebook does so by offering free services to Internet users, in exchange for the collection of User
 9   Data. Specifically, Facebook operates a leading social media website with over 214 million users
10   in the United States, and over $10 billion of annual advertising sales to those users.
11          14.     Facebook then monetizes User Data by selling advertising space on its platforms
12   and services. Advertisers are enticed to place ads with Facebook due to its ability to target specific
13   demographics and interest groups through each company’s collection of User Data. For all intents
14   and purposes, Facebook’s dominance over online advertising is maintained and perpetuated by its
15   treasure trove of User Data.
16   The Facebook Messenger And Facebook Lite Apps for Android Surreptitiously Scrape
     Users’ Call Logs And Text Data
17
            15.     On March 24, 2018, Ars Technica, a leading technology news website, reported that
18
     the Facebook Messenger and Facebook Lite apps for Android are programmed to surreptitiously
19
     scrape users’ call logs and text data without their permission. These data are then sent to Facebook
20
     and incorporated into the company’s trove of User Data, which in turn are monetized for
21
     advertising purposes as discussed above.
22
            16.     Facebook scrapes users’ call logs and text data by exploiting a software
23
     vulnerability in the permission settings of older versions of the Android OS. Specifically, when
24
     users install the Facebook Messenger or Facebook Lite apps for Android, they are prompted to
25
     grant the Facebook Messenger and Facebook Lite apps access to the users’ “Contact List” on their
26
     Android devices. As explained by a Facebook spokesperson: “The most important part of apps
27
     and services that help you make connections is to make it easy to find the people you want to
28

     CLASS ACTION COMPLAINT                                                                               5
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 1   connect with. So, the first time you sign in on your phone to a messaging or social app, it’s a
 2   widely used practice to begin by uploading your phone contacts.” In plain English, Facebook
 3   purports to use contact data, in part, as a component of its friend recommendation algorithm.
 4          17.     However, prior to Android version 4.1, granting Facebook Messenger and Facebook
 5   Lite access to users’ “Contact List” also granted Facebook Messenger and Facebook Lite access to
 6   users’ call and text logs by default. This vulnerability was patched in later versions of the Android
 7   OS, but Android applications (including Facebook Messenger and Facebook Lite) could bypass
 8   this patch by specifying that they were using an older, pre-patched version of the Android Software
 9   Development Kit (“SDK”). Ultimately, the Android OS fully deprecated this functionality in all
10   versions of the Android SDK in October 2017. This coincides with the date in which the Facebook
11   Messenger and Facebook Lite apps stopped scraping call and text logs. By comparison, Apple’s
12   iOS has never allowed silent access to call and text logs.
13          18.     The call logs scraped by Facebook Messenger and Facebook Lite were discovered
14   by a Facebook user on March 21, 2018. They appear as such:
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     CLASS ACTION COMPLAINT                                                                              6
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     The scraped call logs include whether each call was “Incoming,” “Outgoing,” or “Missed.” They
17
     also include the date and time of each call, the number dialed, the individual called, and the
18
     duration of each call. These call logs may contain years worth of call data. The scraped text logs
19
     contain similar data.
20
             19.     On March 25, 2018, a Facebook spokesperson admitted that Facebook collects such
21
     data. Yet, as Ars Technica reported, “Facebook never explicitly revealed that the data was being
22
     collected,” and that “there was never an explicit message requesting access to phone call and SMS
23
     [text] data.”
24
                              CLASS REPRESENTATION ALLEGATIONS
25
             20.     Plaintiffs seek to represent a class defined as all persons in the United States who
26
     installed the Facebook Messenger and Facebook Lite apps for Android, and granted Facebook
27
     permission to access their “Contact List” (the “Class”).
28

     CLASS ACTION COMPLAINT                                                                                 7
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 1          21.     Plaintiffs Williams and Brumfield also seek to represent a subclass of all Class
 2   members in the State of New York (the “Subclass” or the “New York Subclass”).
 3          22.     Members of the Class and Subclass are so numerous that their individual joinder
 4   herein is impracticable. On information and belief, members of the Class and Subclass number in
 5   the millions. The precise number of Class members and their identities are unknown to Plaintiffs
 6   at this time but may be determined through discovery. Class members may be notified of the
 7   pendency of this action by mail and/or publication through the distribution records of Defendant
 8   and third party retailers and vendors.
 9          23.     Common questions of law and fact exist as to all Class members and predominate
10   over questions affecting only individual Class members. Common legal and factual questions
11   include, but are not limited to: whether Facebook scraped call and text logs through the Facebook
12   Messenger and Facebook Lite apps for Android; whether Facebook scraped these data by
13   exploiting a vulnerability in the Android permission settings; and whether Defendant committed
14   statutory and common law fraud by doing so.
15          24.     The claims of the named Plaintiffs are typical of the claims of the Class in that the
16   named Plaintiffs installed the Facebook Messenger and Facebook Lite apps for Android prior to
17   October 2017 and granted permission for Facebook to access their “Contact List,” but did not
18   consent to the scarping of their call and text logs.
19          25.     Plaintiffs are adequate representatives of the Class and Subclass because their
20   interests do not conflict with the interests of the Class members they seek to represent, they have
21   retained competent counsel experienced in prosecuting class actions, and they intend to prosecute
22   this action vigorously. The interests of Class members will be fairly and adequately protected by
23   Plaintiffs and their counsel.
24          26.     The class mechanism is superior to other available means for the fair and efficient
25   adjudication of the claims of the Class and members of the Subclass. Each individual Class
26   member may lack the resources to undergo the burden and expense of individual prosecution of the
27   complex and extensive litigation necessary to establish Defendant’s liability. Individualized
28   litigation increases the delay and expense to all parties and multiplies the burden on the judicial

     CLASS ACTION COMPLAINT                                                                                 8
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 1   system presented by the complex legal and factual issues of this case. Individualized litigation also
 2   presents a potential for inconsistent or contradictory judgments. In contrast, the class action device
 3   presents far fewer management difficulties and provides the benefits of single adjudication,
 4   economy of scale, and comprehensive supervision by a single court on the issue of Defendant’s
 5   liability. Class treatment of the liability issues will ensure that all claims and claimants are before
 6   this Court for consistent adjudication of the liability issues.
 7                                                COUNT I
                   Violation of the California Consumers Legal Remedies Act (“CLRA”),
 8                                        Civil Code §§ 1750, et seq.
                                           (Injunctive Relief Only)
 9
             27.     Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.
10
             28.     Plaintiffs bring this claim individually and on behalf of the members of the Class.
11
             29.     CLRA § 1770(a)(5) prohibits “[r]epresenting that goods or services have
12
     sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not
13
     have or that a person has a sponsorship, approval, status, affiliation, or connection which he or she
14
     does not have.” Defendant violated this provision by representing that it was only collecting
15
     Plaintiffs’ and Class members’ “Contact List” and by failing to represent that it was collecting their
16
     call logs and text data.
17
             30.     At the time Defendant made these misrepresentations and omissions, it was aware
18
     that it was collecting Plaintiffs’ and Class members’ call logs and text data.
19
             31.     Plaintiffs and Class members suffered injuries caused by Defendant’s
20
     misrepresentations and omissions because: (a) Plaintiffs suffered an invasion of their privacy as a
21
     result of Defendant collecting their call logs and text data without authorization, and (b) Plaintiffs
22
     were deprived of any income that Defendant generated through its unauthorized use or sale of their
23
     call logs and text data.
24
             32.     On March 27, 2018, prior to the filing of this Complaint, a CLRA notice letter was
25
     sent to Defendant Facebook which complies in all respects with California Civil Code § 1782(a).
26
     Plaintiff sent Defendant a letter via certified mail, return receipt requested, advising Defendant that
27
     it was in violation of the CLRA and must correct, repair, replace or otherwise rectify the goods
28

     CLASS ACTION COMPLAINT                                                                                    9
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 1   alleged to be in violation of § 1770. A true and correct copy of Plaintiffs’ CLRA letter is attached
 2   hereto as Exhibit A.
 3          33.       Wherefore, Plaintiffs and the Class seek injunctive relief for this violation of the
 4   CLRA in the form of a Court order requiring Defendant to purge its extant call and text logs
 5   acquired through the Facebook Messenger and Facebook Lite apps.
 6                                                COUNT II
                         Violation of California’s Unfair Competition Law (“UCL”)
 7
            34.       Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.
 8
            35.       Plaintiffs bring this claim individually and on behalf of the members of the Class.
 9
            36.       By committing the acts and practices alleged herein, Defendant violated California’s
10
     Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200-17210 by engaging in
11
     unlawful, fraudulent, and unfair conduct.
12
            37.       Defendant violated the UCL’s proscription against engaging in unlawful conduct as
13
     a result of: (a) its violations of the CLRA, Cal. Civ. Code § 1770(a)(5), as alleged above; and (b)
14
     its violations of the California’s Computer Data Access and Fraud Act, Cal. Pen. Code, § 502, as
15
     alleged below.
16
            38.       Defendant’s acts and practices described above also violate the UCL’s proscription
17
     against engaging in fraudulent conduct. As more fully described above, Defendant’s statements
18
     and omissions about its collection of Plaintiffs’ call and text data was likely to deceive reasonable
19
     consumers. Indeed, while Defendant led Plaintiffs and members of the Class to believe that
20
     Defendant was not collecting call and text data, Defendant was in fact collecting such data. Said
21
     acts are fraudulent business practices.
22
            39.       Defendant’s acts and practices described above also violate the UCL’s proscription
23
     against engaging in unfair conduct.
24
            40.       Plaintiffs and Class members suffered injuries caused by Defendant’s
25
     misrepresentations because: (a) Plaintiffs suffered an invasion of their privacy as a result of
26
     Defendant collecting their call logs and text data without authorization, and (b) Plaintiffs were
27

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     CLASS ACTION COMPLAINT                                                                                  10
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 1   deprived of any income that Defendant generated through its unauthorized use or sale of their call
 2   logs and text data.
 3            41.   There is no benefit to consumers or competition from deceptively collecting
 4   Plaintiffs’ and Class members’ call logs and text data.
 5            42.   Plaintiffs and the other Class members had no way of reasonably knowing that
 6   Defendant was collecting their call logs and text data without authorization. Thus, they could not
 7   have reasonably avoided the injury each of them suffered.
 8            43.   The gravity of the consequences of Defendant’s conduct as described above
 9   outweighs any justification, motive, or reason therefore, particularly considering the available legal
10   alternatives which exist in the marketplace, and such conduct is immoral, unethical, unscrupulous,
11   offends established public policy, or is substantially injurious to Plaintiffs and other Class
12   members.
13            44.   Pursuant to California Business and Professional Code § 17203, Plaintiffs and the
14   Class seek an order of this Court that includes, but is not limited to, an order requiring Defendant
15   to: (a) provide compensation to Plaintiffs and the Class for its invasion of privacy; (b) disgorge all
16   revenues obtained as a result of violations of the UCL; and (c) pay Plaintiffs’ attorneys’ fees and
17   costs.
18                                              COUNT III
                             Violation California’s Computer Data Access and
19                                   Fraud Act, Cal. Pen. Code, § 502
20            45.   Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.

21            46.   Plaintiffs bring this claim individually and on behalf of the members of the Class.

22            47.   Defendant knowingly accessed and without permission used Plaintiffs’ and Class

23   members’ data in order to wrongfully control or obtain property or data in violation of California

24   Penal Code § 502(c)(1).

25            48.   Defendant knowingly accessed and without permission took, copied, and/or used

26   data from Plaintiffs’ and Class members’ computers, computer systems and/or computer network

27   in violation of California Penal Code § 502(c)(2).

28

     CLASS ACTION COMPLAINT                                                                                 11
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 1          49.     Defendant knowingly and without permission used or caused to be used Plaintiffs’
 2   and Class members’ computer services in violation of California Penal Code § 502(c)(3).
 3          50.     Defendant knowingly and without permission accessed or caused to be accessed
 4   Plaintiffs’ and Class members’ computers, computer systems, and/or computer network in
 5   violation of California Penal Code § 502(c)(7).
 6          51.     Plaintiffs and Class members suffered and continue to suffer damage as a result of
 7   Defendant’s violations of the California Penal Code § 502 identified above.
 8          52.     Defendant’s conduct also caused irreparable and incalculable harm and injuries to
 9   Plaintiffs and Class members in the form of invading their privacy, and, unless enjoined, will cause
10   further irreparable and incalculable injury, for which Plaintiffs and Class members have no
11   adequate remedy at law.
12          53.     Defendant willfully violated California Penal Code § 502 in disregard and
13   derogation of the rights of Plaintiffs and Class members, and Defendant’s actions as alleged above
14   were carried out with oppression, fraud and malice.
15          54.     Pursuant to California Penal Code § 502(e), Plaintiffs and Class members are
16   entitled to injunctive relief, compensatory damages, punitive or exemplary damages, attorneys’
17   fees, costs and other equitable relief.
18                                               COUNT IV
                                   California Constitutional Right to Privacy
19
            55.     Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.
20
            56.     Plaintiffs bring this claim individually and on behalf of the members of the Class.
21
            57.     Plaintiffs and Class members have a legal protected privacy interest in their call logs
22
     and text data, as codified, among other places, in California’s Computer Data Access and Fraud
23
     Act, Cal. Pen. Code, § 502.
24
            58.     Plaintiffs and Class members had a reasonable expectation of privacy in this data
25
     given that Defendant did not disclose that it was collecting Plaintiffs’ and Class members’ call logs
26
     and text data and such data is necessarily of a highly sensitive and private nature.
27

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     CLASS ACTION COMPLAINT                                                                               12
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 1          59.     Defendant’s conduct in surreptitiously collecting this data constituted a serious
 2   violation of Plaintiffs’ and Class members’ privacy interests.
 3                                                COUNT V
                                           Intrusion Upon Seclusion
 4
            60.     Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.
 5
            61.     Plaintiffs bring this claim individually and on behalf of the members of the Class.
 6
            62.     Plaintiffs and Class members had a reasonable expectation of privacy in their call
 7
     logs and text data – data that they did not give Defendant permission to access.
 8
            63.     Defendant intentionally intruded into Plaintiffs’ and Class members’ private
 9
     information by collecting their call logs and text data without their permission and without
10
     providing notice.
11
            64.     This intrusion into Plaintiffs’ and Class members’ private information would be
12
     highly offensive to a reasonable person.
13
            65.     Defendant’s intrusion of seclusion caused damage to Plaintiffs and Class members
14
     by invading their privacy and depriving them of any income that Defendant generated through its
15
     unauthorized use or sale of their call logs and text data.
16
                                                 COUNT VI
17                                      Trespass To Personal Property

18          66.     Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.

19          67.     Plaintiffs bring this claim individually and on behalf of the members of the Class.

20          68.     Defendant, intentionally and without consent, authorization or other legal

21   justification, collected Plaintiffs’ and Class members’ private call logs and text data.

22          69.     Defendant’s intentional and unjustified collection of Plaintiffs’ and Class members’

23   private call logs and text data interfered with their possessory interest in such property.

24          70.     Defendant’s unauthorized collection and use of Plaintiffs’ and Class members’

25   private call logs and text data caused damage to Plaintiffs and Class members by invading their

26   privacy and depriving them of any income that Defendant generated through its unauthorized use

27   or sale of such data.

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     CLASS ACTION COMPLAINT                                                                               13
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 1                                               COUNT VII
                                     Deceptive Acts Or Practices, New York
 2                                         Gen. Bus. Law § GBL 349
 3           71.     Plaintiffs Williams and Brumfield incorporate by reference and re-allege herein all
 4   paragraphs alleged above.
 5           72.     Plaintiffs Williams and Brumfield bring this claim individually and on behalf of the
 6   members of the New York Subclass.
 7           73.     By the acts and conduct alleged herein, Defendant committed unfair or deceptive
 8   acts and practices by collecting Plaintiffs Williams and Brumfield, and Subclass members’, call
 9   logs and text data without their permission and after disclosing only that it was collecting Plaintiffs
10   Williams and Brumfield and Subclass members’ “contact information.”
11           74.     The foregoing deceptive acts and practices were directed at consumers.
12           75.     The foregoing deceptive acts and practices were misleading in a material way
13   because they fundamentally misrepresented the types of data that Defendant collected.
14           76.     Plaintiffs Williams and Brumfield and New York Subclass members were injured as
15   a direct and proximate result of Defendant’s violation because Defendant thereby invaded their
16   privacy and deprived them of any income that Defendant generated through its unauthorized use or
17   sale call logs and text data.
18           77.     On behalf of themselves and other members of the New York Subclass, Plaintiffs
19   Williams and Brumfield seek to enjoin the unlawful acts and practices described herein, to recover
20   their actual damages or fifty dollars, whichever is greater, three times actual damages, and
21   reasonable attorneys’ fees.
22                                              COUNT VIII
                                              Unjust Enrichment
23
             78.     Plaintiffs incorporate by reference and re-allege herein all paragraphs alleged above.
24
             79.     Plaintiffs bring this claim individually and on behalf of the members of the Class.
25
             80.     Plaintiff and Class members conferred a benefit upon Defendant by providing it,
26
     unwittingly, with call logs and text data. Defendant profited from this collection of data by
27
     incorporating it into its profile on each user, which it monetized for advertising purposes.
28

     CLASS ACTION COMPLAINT                                                                                14
         Case 3:18-cv-01881-RS Document 1 Filed 03/27/18 Page 16 of 21



 1          81.     Because Defendant’s retention of the non-gratuitous benefits conferred on it by
 2   Plaintiffs and Class members is unjust and inequitable, Defendant must pay restitution to Plaintiffs
 3   and Class members for its unjust enrichment, as ordered by the Court.
 4                                           PRAYER FOR RELIEF
 5          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek
 6   judgment against Defendant, as follows:
 7          a.      For an order certifying the nationwide Class and the Subclass under Rule 23 of the
 8                  Federal Rules of Civil Procedure and naming Plaintiffs as the representatives of the
 9                  Class and Subclass and Plaintiffs’ attorneys as Class Counsel to represent members
10                  of the Class and Subclass;
11          b.      For an order declaring the Defendant’s conduct violates the statutes referenced
12                  herein;
13          c.      For an order finding in favor of Plaintiffs, the nationwide Class, and the Subclass on
14                  all counts asserted herein;
15          d.      For compensatory, statutory, and punitive damages in amounts to be determined by
16                  the Court and/or jury;
17          e.      For prejudgment interest on all amounts awarded;
18          f.      For an order of restitution and all other forms of equitable monetary relief; and
19          g.      For an order awarding Plaintiffs, the Class, and the Subclass their reasonable
20                  attorneys’ fees and expenses and costs of suit.
21                                   DEMAND FOR TRIAL BY JURY
22          Plaintiffs demand a trial by jury of all issues so triable.
23

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     CLASS ACTION COMPLAINT                                                                             15
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 1   Dated: March 27, 2018              Respectfully submitted,
 2                                      BURSOR & FISHER, P.A.
 3
                                        By:      /s/ L. Timothy Fisher
 4                                                   L. Timothy Fisher

 5                                      L. Timothy Fisher (State Bar No. 191626)
                                        1990 North California Boulevard, Suite 940
 6                                      Walnut Creek, CA 94596
                                        Telephone: (925) 300-4455
 7                                      Facsimile: (925) 407-2700
                                        E-Mail: ltfisher@bursor.com
 8
                                        BURSOR & FISHER, P.A.
 9                                      Scott A. Bursor (State Bar No. 276006)
                                        888 Seventh Avenue
10                                      New York, NY 10019
                                        Telephone: (212) 989-9113
11                                      Facsimile: (212) 989-9163
                                        E-Mail: scott@bursor.com
12
                                        Attorneys for Plaintiffs
13

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     CLASS ACTION COMPLAINT                                                          16
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2
             I, L. Timothy Fisher, declare as follows:
 3
             1.      I am counsel for Plaintiffs, and I am a partner at Bursor & Fisher, P.A. I make this
 4
     declaration to the best of my knowledge, information, and belief of the facts stated herein.
 5
             2.      The complaint filed in this action is filed in the proper place for trial because a
 6
     substantial portion of the transaction occurred in this District, in that Plaintiffs allege that Facebook
 7
     is a citizen of California, maintains its worldwide corporate headquarters in this District, developed
 8
     the Facebook Messenger and Facebook Lite apps in this District, distributed and advertised the
 9
     Facebook Messenger and Facebook Lite apps in this District, formulated its data retention policies
10
     in this District, and monetized users’ data (including Plaintiffs’ data) in this District.
11
             3.      Plaintiffs allege that they installed the Facebook Messenger and Facebook Lite for
12
     their personal and household use. Plaintiffs allege that they did not understand that Facebook
13
     Messenger and Facebook Lite would scrape their call and text logs. Plaintiffs allege that in all
14
     reasonable probability, they would not have installed or used the Facebook Messenger and
15
     Facebook Lite apps, or would have used them on materially different terms, had they known the
16
     truth about the apps’ practice of scraping call and text logs.
17
             4.      Plaintiffs allege that Facebook’s omissions concerning its practice of scraping call
18
     and text logs played a substantial part, and so had been a substantial factor, in their decision to
19
     install and use Facebook Messenger and Facebook Lite.
20
             I declare under the penalty of perjury under the laws of the State of California that the
21
     foregoing is true and correct, executed on March 27, 2018 at Walnut Creek, California.
22

23

24                                                                    /s/ L. Timothy Fisher
                                                                          L. Timothy Fisher
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                                                   EXHIBIT A
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1990 NORTH CALIFORNIA BLVD.                                                   L. TIMOTHY FISHER
SUITE 940                                                                         Tel: 9 2 5 . 3 0 0 . 4 4 5 5
W A L N U T C R E E K, C A 9 4 5 9 6 -7 3 5 1                                     Fax: 9 2 5 . 4 0 7 . 2 7 0 0
www.bursor.com                                                                  ltfisher@bursor.com

                                                March 27, 2018


Via Certified Mail – Return Receipt Requested

Facebook, Inc.
1 Hacker Way
Menlo Park, CA 94025


Re:        Demand Letter Pursuant to California Civil Code § 1782


To Whom It May Concern:

         This letter serves as a preliminary notice and demand for corrective action by Facebook,
Inc. (“Facebook”), pursuant to the provisions of California Civil Code § 1782, on behalf of our
clients, Anthony Williams, Tyoka Brumfield, and Wendy Burnett, and a class of all similarly
situated users of Facebook Messenger or Facebook Lite for the Android smartphone OS (the
“Class”).

        Our clients installed the Facebook Messenger and Facebook Lite apps on their Android
smartphones during the relevant time period, and prior to October 2017, for their personal and
household use. During installation, our clients granted Facebook permission to access their
“Contact List,” but they did not consent to Facebook scraping their call and text logs. Based on
information and belief, the Facebook Messenger and Facebook Lite apps scraped their call and
text logs, transferred them to Facebook, and monetized these data for advertising purposes. Our
clients did not understand that Facebook Messenger and Facebook Lite would scrape their call
and text logs. In all reasonable probability, our clients would not have installed or used the
Facebook Messenger and Facebook Lite apps, or would have used them on materially different
terms, had they known the truth about the apps’ practice of scraping call and text logs.
Facebook’s misrepresentations and omissions concerning its practice of scraping call and text
logs played a substantial part, and so had been a substantial factor, in their decision to install and
use Facebook Messenger and Facebook Lite.

        By misrepresenting the Products’ characteristics, Facebook has violated and continues to
violate subsections (a)(5) of the California Consumers Legal Remedies Act, Civil Code § 1770.

        On behalf of our client and the Class, we hereby demand that Facebook immediately
(1) purges its extant call and text logs acquired through these apps; (2) issues an immediate recall
of the Facebook Messenger and Facebook Lite apps; and (3) makes full restitution to all users of
the Facebook Messenger and Facebook Lite apps.
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                                                                                            PAGE 2




        We also demand that Facebook preserve all documents and other evidence which refer or
relate to any of the above-described practices including, but not limited to, the following:

        1.       All documents concerning the research, development, design, and/or
                 testing of Facebook Messenger and Facebook Lite;

        2.       All documents concerning the advertisement and marketing of Facebook
                 Messenger and Facebook Lite;

        3.       All documents concerning privacy disclosures for Facebook Messenger
                 and Facebook Lite;

        5.       All documents concerning the collection of call and text logs from users of
                 Facebook Messenger and Facebook Lite; and

        6.       All documents concerning the total revenue derived from the monetization
                 of call and text logs from users of Facebook Messenger and Facebook
                 Lite, nationwide and by state.

       If you contend that any statement in this letter is inaccurate in any respect, please provide
us with your contentions and supporting documents immediately upon receipt of this letter.

        This letter also serves as a thirty (30) day notice and demand requirement under Cal. Civ.
Code § 1782 for damages. Accordingly, should you fail to rectify the situation on a class-wide basis
within 30 days of receipt of this letter, we will seek actual damages, plus punitive damages, interest,
attorneys’ fees and costs.

        Please contact me right away if you wish to discuss an appropriate way to remedy this
matter. If I do not hear from you promptly, I will take that as an indication that you are not
interested in doing so.



                                                        Very truly yours,




                                                        L. Timothy Fisher
